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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                      )
In re:                                                )       Chapter 13
                                                      )       Case number: 16-17789
RONALD MALONEY and PAMELA                             )       Hon. Carol A. Doyle
MALONEY,                                              )
             DEBTORS                                  )
                                                      )


                                      NOTICE OF FILING

To:      John J. Lieberman, Sottile & Barile, Attorneys at Law, 394 Wards Corner Road, Suite 180,
         Loveland, OH 45140

         Tom Vaughn, Standing Trustee, 55 E. Monroe, Suite 3850, Chicago, IL 60603

PLEASE TAKE NOTICE that on Monday, November 11, 2019, the undersigned filed the
attached Response to Motion for Relief from Stay, a copy of which is attached hereto and served
upon you herewith.

                                                              By: /s/ Justin R. Storer_____
                                                              Counsel for the Debtors

Justin R. Storer (ARDC# 6293889)
Lakelaw
53 W. Jackson, Suite 1115
Chicago, IL 60604
jstorer@lakelaw.com
312.662.5757

                                  CERTIFICATE OF SERVICE

        On November 11, 2019, the undersigned certifies that on this date, he caused a copy of the
above document to be served upon each person shown on the above notice, by via CM/ECF, the
Court’s electronic noticing system.

                                                              /s/ Justin R. Storer
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In re:                                                  )       Chapter 13
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RONALD MALONEY and PAMELA                               )       Hon. Carol A. Doyle
MALONEY,                                                )
             DEBTORS                                    )
                                                        )


                    RESPONSE TO MOTION FOR RELIEF FROM STAY

         Now come the Debtors in bankruptcy, Ronald and Pamela Maloney, in response to the motion

for relief from stay filed by US Bank Trust, N.A., as Trustee of the Igloo Series III Trust (“US Bank”)

(dkt. 76), and stating, in brief, that the Debtors’ actual arrearage, to and including November of 2019,

is actually only $6,856.45, and the Debtors are prepared to immediately cure that arrearage.

                                         U.S. Bank’s Motion

         On October 30, 2019, US Bank filed its motion for relief from stay (the “Motion”). They

sought relief as to the Debtors’ home, at 8507 Radcliffe Road, Tinley Park, Illinois, 60487. They allege

that the value of the property is about $350,000.00 and the unpaid balance of the note is $221,966.80

(the value of the property is not disputed, but detailed inquiry as to the balance owed may need to be

undertaken at a later date).

         US Bank’s Motion alleges that, “As of September 26, 2019, the default as $18,118.85.”

(Motion, para. 6.) US Bank alleges no other reason why they would not be adequately protected. They

attach a payment history at page 24 of their Exhibit A, showing how they arrived at their $18,118.85

figure. (That payment history is attached hereto as the Debtor’s exhibit A.) In their Required Statement
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to Accompany Motions for Relief From Stay, US Bank Alleges “Debtors are delinquent from

12/2018-10/2019.” This is false.

       Admittedly, there is a small arrearage; Ronald Maloney’s health is very poor, and it has caused

periodic disruptions to the Debtors’ household circumstances. Ron Maloney had hurt his knee in a

parking garage. He had surgery but was discharged from the hospital too early, before the oxygen

levels in his blood had correctly stabilized. He had a stroke and a heart attack, among other adverse

health conditions. He remains totally and permanently disabled.

       At any rate: Using US Bank’s payment history as a starting point, it is possible to arrive at the

$6,856.45 arrearage by itemizing the postpetition payments that US Bank is failing to credit.

       Including the payment due this month, since the case was filed, US Bank would

appropriately have received a total of $76,959.88 in direct postpetition payments. (Five payments of

$1,847.70, twelve of $1,987.49, and twenty-five of $1,754.86, including the payment due November

of 2019.)

       US Bank’s payment history reflects receiving $58,976.27.

       But, by adding in the payments that US Bank fails to credit, it is clear that, to date, the

Maloneys have actually paid $71,858.29.

                                   $7,617.44 that was not credited:

       On January 17, 2017, US Bank’s predecessor in interest (Wells Fargo) filed a motion for

relief in this case. Per the payment ledger appended to that motion, at docket entry 43, the exact

amount that the Debtors were behind, at that time, was $7,617.44.

       On January 24, 2017, the undersigned appeared and tendered a cashier’s check for that

amount to the creditor’s counsel, who withdrew the motion for relief. An image of this check is

attached hereto, as exhibit B. On information and belief, creditor’s counsel sent the funds to their
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client the day thereafter, and FedEx records indicate that Wells Fargo received the payment on

January 26, 2017. This payment is not accounted-for in US Bank’s motion for relief.

                                   $5,264.58 that was not credited:

        The Debtors have remitted three timely payments of $1,754.86, that are erroneously and

falsely not-registered in US Bank’s motion. The payment history attached at exhibit A registers a

total of five payments’ being made starting from, say, March of 2019: $3,509.72 posting on June 19,

2019, $1,754.86 posting on July 1, 2019, and $3,509.72 posting on September 24, 2019.

        Since (but, including) March of 2019, the Debtors have made eight payments. The difference

between the eight payments that they’ve made, and the five that US Bank credits, totals $5,264.58.

        Of the attached Exhibit C, pages 1, 3, 5, 7, 9, 11, 13, and 14 display these payments.

                                              Conclusion:

        When the motion for relief was filed, their Maloneys’ arrearage was only $5,101.59. Adding

in a $1,754.86 payment due for the month of November, 2019, their arrearage would only be

$6,856.45.

        On November 12, 2019, the undersigned will be presenting in open court a cashier’s check

an amount slightly in excess of this arrearage.

        The undersigned submits that, with a payment made in excess of $6,856.45, it would be

appropriate to deny US Bank’s motion for relief from the automatic stay.

                                                       Respectfully submitted,
                                                       /s/ Justin R. Storer
                                                       Justin R. Storer
                                                       One of the Debtors’ attorneys

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